     Case 1:10-cr-00521-TCB-AJB Document 747 Filed 05/24/13 Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION



UNITED STATES OF AMERICA               )
                                       )
                                       )
v.                                     ) CRIMINAL ACTION FILE
                                       )
OTIS HENRY,                            ) NUMBER 1:10-cr-521-2-TCB
                                       )
            Defendant.                 )



                                 ORDER

       This matter is before the Court on Magistrate Judge Baverman’s

Report & Recommendation (“R&R”) [734], recommending that the Court

deny Defendant Otis Henry’s motion to suppress evidence obtained by

wiretap and electronic surveillance [601]. Henry filed objections to the

R&R.

       A district judge has a duty to conduct a “careful and complete” review

of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d 732, 732

(11th Cir. 1982) (quoting Nettles v. Wainwright, 677 F.2d 404, 408 (5th
      Case 1:10-cr-00521-TCB-AJB Document 747 Filed 05/24/13 Page 2 of 4




Cir. 1982)). 1 This review may take different forms, however, depending on

whether there are objections to the R&R. The district judge must “make a

de novo determination of those portions of the [R&R] to which objection is

made.” 28 U.S.C. § 636(b)(1)(C). In contrast, those portions of the R&R to

which no objection is made need only be reviewed for clear error. Macort

v. Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006). 2

       “Parties filing objections must specifically identify those findings

objected to. Frivolous, conclusive or general objections need not be

considered by the district court.” Nettles, 677 F.2d at 410 n.8. “This rule

facilitates the opportunity for district judges to spend more time on matters

actually contested and produces a result compatible with the purposes of

the Magistrates Act.” Id. at 410.

       1 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit decisions

issued before October 1, 1981, as well as all decisions issued after that date by the Unit B
panel of the former Fifth Circuit. Stein v. Reynolds Sec., Inc., 667 F.2d 33, 34 (11th Cir.
1982); see also United States v. Schultz, 565 F.3d 1353, 1361 n. 4 (11th Cir. 2009)
(discussing the continuing validity of Nettles).
       2 Macort dealt only with the standard of review to be applied to a magistrate’s

factual findings, but the Supreme Court has held that there is no reason for the district
court to apply a different standard to a magistrate’s legal conclusions. Thomas v. Arn,
474 U.S. 140, 150 (1985). Thus, district courts in this circuit have routinely applied a
clear-error standard to both. See Tauber v. Barnhart, 438 F. Supp. 2d 1366, 1373–74
(N.D. Ga. 2006) (collecting cases). This is to be contrasted with the standard of review
on appeal, which distinguishes between the two. See Monroe v. Thigpen, 932 F.2d 1437,
1440 (11th Cir. 1991) (when a magistrate’s findings of fact are adopted by the district
court without objection, they are reviewed on appeal under a plain-error standard, but
questions of law remain subject to de novo review).


                                             2
     Case 1:10-cr-00521-TCB-AJB Document 747 Filed 05/24/13 Page 3 of 4




      The district judge also has discretion to decline to consider arguments

that were not raised before the magistrate judge. Williams v. McNeil, 557

F.3d 1287, 1292 (11th Cir. 2009). Indeed, a contrary rule “would effectively

nullify the magistrate judge’s consideration of the matter and would not

help to relieve the workload of the district court.” Id. (quoting United

States v. Howell, 231 F.3d 615, 622 (9th Cir. 2000)).

      After conducting a complete and careful review of the R&R, the

district judge may accept, reject or modify the magistrate judge’s findings

and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681 F.2d at

732. The district judge may also receive further evidence or recommit the

matter to the magistrate judge with instructions. 28 U.S.C. § 636(b)(1)(C).

      The Court has conducted a careful, de novo review of the R&R and

Henry’s objections thereto. Having done so, the Court finds that Judge

Baverman’s legal conclusions were correct and that Henry’s objections have

no merit. Specifically, as set forth in the R&R, the Court finds that Henry

has failed to establish standing to challenge the sealing of the interception

tapes or the geo-location warrants/orders. Further, as explained in the

R&R, even if Henry had established standing, his motion to suppress would

fail because the tapes were timely sealed and he has not demonstrated that



                                       3
     Case 1:10-cr-00521-TCB-AJB Document 747 Filed 05/24/13 Page 4 of 4




he was prejudiced by any failure relating to the return of the geo-locations

authorizations.

      Accordingly, the Court ADOPTS AS ITS ORDER the R&R [729] and

DENIES Henry’s motion to suppress [601].

     IT IS SO ORDERED this 24th day of May, 2013.



                                    ___________________________
                                    Timothy C. Batten, Sr.
                                    United States District Judge




                                      4
